Case 1:23-cv-02449-UNA Document 1 Filed 08/23/23 Page 1 of 1

CLEAR FORM

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA /

Led QANNN ot. WLRSCATLELD L in VO y&

PLAINTIFF

\o*A Nac{ok St NE

Address (No Post Office Boxes)

\NpS INGO N NY oO Case: 1:23-cv-02449 JURY DEMAND

oy State ZipCode Assigned To : Unassigned
Assign. Date : 8/23/2023
Description: Pro Se Gen. Civ. (F-DECK)

we \QNl LTE anes US. SePEOUT re: Woo OI »

00 Ramone at Bel Ase

Address (No Post Office Boxes)

\NASWINGTAN OC 70240

City s} ate Zip Code wE

AG 6m US: To\\ed OF CAGE EoMetats

Inder TAG Wh of US. Cole 6 A%d- CAEL
AcALOVY FOV AePenlation Of RTGS.

40 eelS it pt Aor limited +o Roman CialmGeW\ations
NO lao nS) 9£ We Devi Cane. Wikl, Vidal ley BCI

of OLA. he Human Cightt Ac of i499"
A\ \\2 Fe US COY2§ 3301 Qumun Righis, wns Security "pCLiGlanc
Under tue Loveooing SOris diction’ Mentioned o£ bue
Unger Grok tS of Amer CO Raencies 21kiNS, Sent
pLOvrCerg, pkfices Ach ny Prete Cn vies 40° be auitesiees
COIN ond Per Patradurs phe Law +0 be Loi (ro Cyte
an, ge miSnch iO Me Lire} oxXtenk ok Yee Law. Crs COmpenselr oh

Kd) LPM NDVRLS | in Geeerate enone Lo\low i) tig (ASC,
4M
V Original Sigifgture (in pen rQ G e
NO 2 Ee ESone -_ it Tea Pro ly
\CT if applicable, Prisoner
Rev: 01/10/2023 . AUG 23 2023 0 0 i ate
*Use additional pages as needed US, Dine & Banktuptey WW dg us wa C a.00I\

ee (a es, ayy YS

